        Case 3:16-cv-05671-TEH Document 31 Filed 01/10/17 Page 1 of 2
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 1 Scott Sagaria (State Bar No.217981)




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   Elliot Gale (State Bar No. 263326)




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 2 Joe Angelo (State Bar No. 268542)
   SAGARIA LAW, P.C.




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   Attorneys for Plaintiff                                         ER




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                                  UNITED STATES DISTRICT COURT
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              NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION
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11
     WILLIAM ARMSTRONG,                                Federal Case No.: 3:16-CV-05671-TEH
12
                   Plaintiff,
13
            vs.                                        STIPULATED REQUEST FOR
14                                                     DISMISSAL OF DEFENDANT SELECT
   EXPERIAN INFORMATION SOLUTIONS,                     PORTFOLIO SERVICING, INC.
15 INC.; et. al.,

16                 Defendants.

17

18 TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

19          IT IS HEREBY STIPULATED by and between plaintiff William Armstrong and

20 defendant Select Portfolio Servicing, Inc., that Select Portfolio Servicing, Inc. be dismissed from

21 this action with prejudice pursuant to Federal Rules of Civil Procedure, section 41(a)(1)(A)(ii),

22 and that each party shall bear its own attorneys’ fees and costs.

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         STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT SELECT PORTFOLIO SERVICING, INC.
        Case 3:16-cv-05671-TEH Document 31 Filed 01/10/17 Page 2 of 2



 1 DATED: January 10, 2017                       Sagaria Law, P.C.

 2                                               By:          /s/ Elliot W. Gale
 3                                                                     Elliot W. Gale
                                                 Attorneys for Plaintiff
 4                                               William Armstrong
 5
     DATED: January 10, 2017                     Wargo and French LLP
 6

 7

 8                                               By:          /s/ Scott R. Laes
                                                                       Scott R. Laes.
 9
                                                 Attorneys for Defendant
10                                               Select Portfolio Servicing, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Scott R. Laes has concurred in this filing.
13
     /s/ Elliot Gale
14

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         STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT SELECT PORTFOLIO SERVICING, INC.
